     Case: 1:23-cv-04899 Document #: 30 Filed: 11/20/23 Page 1 of 1 PageID #:359

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Angala Garland, et al.
                                  Plaintiff,
v.                                                  Case No.: 1:23−cv−04899
                                                    Honorable Matthew F. Kennelly
The Children's Place, Inc.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 20, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly: Telephonic status
hearing held on 11/20/2023. Defendant's motion to dismiss [24] is denied without
prejudice based on the filing of the amended complaint. The deadline for any Rule 12
based motion is as follows: 1.) The motion is due 12/22/2023; 2.) The response is due
1/19/2024; and 3.) The reply is due 2/1/2024. Case is set for a telephonic status hearing on
2/6/2024 at 8:45 a.m. The following call−in number will be used for the hearing:
888−684−8852, access code 746−1053. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice. (mma, )




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